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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO

Symbology Innovations, LLC,                    )
                                               )
                  Plaintiff,                   )          Case No. 5:20-cv-0890
                                               )
      v.                                       )          Judge Benita Y. Pearson
                                               )
Under Armour, Inc.,                            )
                                               )
                  Defendant.                   )
                                               )

                      NOTICE OF DISMISAL WITH PREJUDICE

       Now comes, Plaintiff Symbology Innovations LLC, by and through its counsel, and

pursuant to the Court’s Order of Dismissal (D.E.11) and Fed. R. Civ. P. 41 (a)(1), hereby

voluntarily dismisses all claims it asserted against Defendant Under Armour, Inc. in this action

WITH PREJUDICE. Under Armour, Inc. has not served an answer or a motion for summary

judgment.

Dated: August 7, 2020                              Respectfully submitted,

                                                   /s/ Howard L. Wernow
                                                   Howard L. Wernow (SBN 0089019)
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                                                   Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on August 7, 2020, to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.

                                                    /s/ Howard L. Wernow
                                                      Howard L. Wernow
